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 1   [All counsel listed on signature page]

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 8
                                    UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                              OAKLAND DIVISION
11

12   IN RE COLLEGE ATHLETE NIL                         No. 4:20-cv-03919 CW
     LITIGATION
13
                                                       JOINT STIPULATION AND
14                                                     [PROPOSED] ORDER STAYING
                                                       ACTION PENDING SETTLEMENT
15                                                     APPROVAL
16
                                                       Hon. Claudia Wilken
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 1           Pursuant to Northern District of California Civil Local Rule 7-12, Plaintiffs in the above-

 2   captioned action and Defendants National Collegiate Athletic Association (“NCAA”), Pac-12

 3   Conference (“Pac-12”), Big Ten Conference, Inc. (“Big Ten”), Big 12 Conference, Inc. (“Big 12”),

 4   Southeastern Conference (“SEC”), and Atlantic Coast Conference (“ACC”) (collectively,

 5   “Defendants”) (Plaintiffs and each Defendant is referred to herein as a “Party” and all Defendants

 6   together with Plaintiffs, the “Parties”), by and through their respective undersigned counsel of

 7   record, submit the following Stipulation and Proposed Order:

 8           WHEREAS, the Parties have agreed to the principal terms on which the Parties will settle In

 9   re College Athlete NIL Litigation, Case No. 4:20-cv-03919 CW (N.D. Cal.), Hubbard et al. v.

10   National Collegiate Athletic Association et al., Case No. 23-cv-01593 (N.D. Cal.), and Carter et al.

11   v. National Collegiate Athletic Association et al., Case No. 3:23-cv-06325-RS (N.D. Cal.);

12           WHEREAS, the terms of the settlement were jointly agreed to after arms-length negotiations;

13           WHEREAS, the Parties are working expeditiously and in good faith to finalize the long-form

14   settlement agreement, and anticipate that a motion for preliminary approval of the settlement will be

15   filed on or before thirty (30) days from the date of this stipulation, but in any event no later than

16   forty-five (45) days from the date of this stipulation;

17           WHEREAS, in furtherance of the settlement, and to conserve judicial and party resources, the

18   Parties agree, and request that the Court stay all deadlines and proceedings pending filing of the

19   settlement and motion for preliminary approval.

20           THEREFORE, IT IS STIPULATED AND AGREED, SUBJECT TO COURT APPROVAL,

21   THAT:

22           1.     All deadlines are hereby STAYED pending the Court’s ruling on Plaintiffs’ motion to

23   preliminarily approve the settlement between Plaintiffs and Defendants pursuant to Rule 23 of the

24   Federal Rules of Civil Procedure.

25           2.     If the Court grants preliminary approval, the case shall remain stayed pending final

26   approval of the settlement.

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 1          3.     If the Court does not grant preliminary approval, the Parties shall promptly negotiate

 2   in good faith regarding a new schedule to be submitted for Court approval.

 3

 4   Dated: May 30, 2024                                Respectfully submitted,

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 2
                                       E-FILING ATTESTATION
 3          I, Steve W. Berman, am the ECF User whose ID and password are being used to file this
 4   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories
 5   identified above has concurred in this filing.
 6
                                                            /s/ Steve. W. Berman
 7                                                     STEVE W. BERMAN (pro hac vice)
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28   JOINT STIPULATION AND [PROPOSED] ORDER STAYING ACTION PENDING SETTLEMENT APPROVAL
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 1                                      [PROPOSED] ORDER

 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 4
         5/30/2024                                    THE HONORABLE CLAUDIA WILKEN
 5                                                    United States District Court Judge
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